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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

SHIRLEY CAVALIER

PLAINTIFF

VS, CIVIL ACTION NO. 17-260-SDD-EWD

CARRINGTON MORTGAGE SERVICES,
LLC, ET.AL

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DEFENDANTS

ORDER OF DISMISSAL WITH PREJUDICE

Plaintiff Shirley Cavalier have announced to the Court that all matters in controversy against
defendants Carrington Mortgage Services, LLC and Bank of America, N.A. have been resolved. A
Stipulation of Dismissal with Prejudice has been signed and filed with the Court. Having considered
the Stipulation of Dismissal with Prejudice, the Court makes and delivers the following ruling:

IT IS ORDERED that the claims and causes of action asserted herein by Plaintiff against
defendants Carrington Mortgage Services, LLC and Bank of America, N.A. are in all respects
dismissed with prejudice to the refiling of same with court costs to be paid by the party incurring

same,

Baton Rouge, Louisiana, this G day higher 018 j

HONORABLE SHELLY D. DICK
UNITED STATES CHIEF DISTRICT JUDGE

 
